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                              UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                        CRIMINAL MINUTE SHEET
USA v.       Daniel Harris                                                                 Mag. Judge: Sally J. Berens

    CASE NUMBER                          DATE                TIME (begin/end)             PLACE                   INTERPRETER


 1:20-cr-00183-RJJ                     12/17/2020          10:00 a.m. - 10:08 a.m.      Grand Rapids


APPEARANCES:
Government:                                                 Defendant:                                     Counsel Designation:
Nils R. Kessler, Austin Hakes                               Thomas William Parker Douglas                  CJA Appointment


           OFFENSE LEVEL                                   CHARGING DOCUMENT/COUNTS                          CHARGING DOCUMENT
                                                                                                           Read
Felony                                        Indictment                                                   Reading Waived

             TYPE OF HEARING                                           DOCUMENTS                            CHANGE OF PLEA

    First Appearance                                    Defendant's Rights                        Guilty Plea to Count(s)
✔   Arraignment:                                        Waiver of                                 of the
           mute              nolo contendre             Consent to Mag. Judge for
       ✔                     guilty                                                               Count(s) to be dismissed at sentencing:
           not guilty
                                                        Other:
✔   Initial Pretrial Conference
                                                                                                  Presentence Report:
    Detention           (waived    )                                                                     Ordered      Waived
    Preliminary     (waived        )                 Court to Issue:                                   Plea Accepted by the Court
    Rule 5 Proceeding                                   Report & Recommendation
                                                                                                       No Written Plea Agreement
    Revocation/SRV/PV                                   Order of Detention
                                                        Order to file IPTC Statements
    Bond Violation                                                                                      EXPEDITED RESOLUTION
                                                        Bindover Order
    Change of Plea                                      Order Appointing Counsel                       Case appears appropriate for
    Sentencing                                       ✔ Other:
                                                                                                       expedited resolution
    Other:                                           Rule 5(f) Order


                  ADDITIONAL INFORMATION                                                            SENTENCING
Proceeding held by video.                                                     Imprisonment:
                                                                              Probation:
                                                                              Supervised Release:
                                                                              Fine: $
                                                                              Restitution: $
                                                                              Special Assessment: $
                                                                              Plea Agreement Accepted:             Yes    No
                                                                              Defendant informed of right to appeal:         Yes      No
                                                                              Counsel informed of obligation to file appeal:  Yes     No


                   CUSTODY/RELEASE STATUS                                                  BOND AMOUNT AND TYPE

Detention Continued                                                       $

CASE TO BE:             Referred to District Judge                        TYPE OF HEARING: Further Proceedings

Reporter/Recorder:            Digitally Recorded                          Courtroom Deputy:            J. Lenon
